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                                8                                 UNITED STATES DISTRICT COURT

                                9                                NORTHERN DISTRICT OF CALIFORNIA

                           10       ROBERT ROSS,                                   Case No. 4:19-cv-6669-JST
                           11                       Plaintiff,                     [PROPOSED] ORDER GRANTING JOINT
                                                                                   STIPULATION AND REQUEST TO
                           12               vs.                                    CONTINUE TRIAL AND OTHER
                                                                                   RELATED DATES IN THE SCHEDULING
                           13       AT&T MOBILITY, LLC, ONE TOUCH                  ORDER
                                    DIRECT, LLC, and ONE TOUCH DIRECT-
                           14       SAN ANTONIO, LLC,                              CURRENT TRIAL DATE: November 29,
                                                                                   2021
                           15                       Defendant.                     REQUESTED TRIAL DATE: February 28,
                                                                                   2022
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      BUCHALTER
A PROFES SION AL CORPORAT ION
        SACR AMENTO                  [PROPOSED] ORDER GRANTING JOINT STIPULATION                         Case No. 4:19-cv-6669-JST
                                     TO CONTINUE DATES IN THE SCHEDULING ORDER
                                    BN 44163623v1
                                       Case 4:19-cv-06669-JST Document 85 Filed 02/10/21 Page 2 of 2



                                1                                        [PROPOSED] ORDER
                                2           Having read and considered the Joint Stipulation and Requests to Continue Trial and
                                3   Other Related Dates in the Scheduling Order (“Stipulation”), and for good cause shown, the
                                4   Stipulation is approved. The Court approves the Stipulation and orders that the Scheduling Order
                                5   (Dkt. 42) dates are amended as follows:
                                6
                                                    Event                       Current Deadline                New Deadline
                                7    Deadline to add parties or amend    June 4, 2020                       June 4, 2020
                                     the pleadings
                                8    Fact discovery cut-off              April 9, 2021                      July 8, 2021
                                9    Mediation deadline
                                     Expert disclosure                   April 23, 2021                     July 22, 2021
                           10
                                     Expert rebuttal                     May 28, 2021                       August 26, 2021
                           11        Expert discovery cut-off            June 16, 2021                      September 14, 2021
                                     Deadline to file dispositive        July 14, 2021                      October 12, 2021
                           12        motions
                           13        Pretrial conference statement due   October 29, 2021                   January 27, 2022
                                     Pretrial conference                 November 5, 2021 at 2:00 pm        February 3, 2022
                           14        Trial                               November 29, 2021                  February 28, 2022
                           15        Estimated trial length (in days)    Ten                                Ten

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                           17               PURSUANT TO THE STIPULATION, IT IS SO ORDERED.

                           18
                                            February 10, 2021
                                    Dated: ____________________                           ___________________________________
                           19
                                                                                          HON. JON S. TIGAR
                           20                                                             United States District Court Judge

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      BUCHALTER
A PROFES SION AL CORPORAT ION
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        SACR AMENTO                  [PROPOSED] ORDER GRANTING JOINT STIPULATION                                Case No. 4:19-cv-6669-JST
                                     TO CONTINUE DATES IN THE SCHEDULING ORDER
                                    BN 44163623v1
